      Case 2:05-cr-00180-LRS     ECF No. 173    filed 05/10/06      PageID.485 Page 1 of 1




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 6
                           UNITED STATES DISTRICT COURT
 7
                     EASTERN DISTRICT OF WASHINGTON
 8
     THE UNITED STATES OF           ) Case No.: CR-05-180-LRS-7
 9                                  )
     AMERICA,                       )
10                                  ) ORDER GRANTING DEFENDANT’S
                                    ) MOTION TO AMEND RELEASE
11            Plaintiff,            ) CONDITIONS
                                    )
12        vs.                       )
                                    )
     ROBERTA LYNN MARKISHTUM, )
13
                                    )
14                                  )
              Defendant.            )
15
16         Before the court is Defendant’s Motion to Amend Release Conditions. The
17   Court has reviewed the motion and the record in this case and finds that there is
18   good cause to grant the motion.
19
           NOW THEREFORE: the Defendant’s Motion to Amend Release
20
     Conditions is GRANTED. Defendant’s conditions of release are amended to
21
     allow Defendant to travel outside the Eastern District of Washington from May 20,
22
     2006 to May 27, 2006. All other conditions of release remain in effect.
23
           IT IS SO ORDERED this 10th day of May 2006.
24
25
26                                          S/ CYNTHIA IMBROGNO_________
                                            U.S. Magistrate Judge
27
28

     ORDER GRANTING DEFENDANT’S           -1-                   Richard D. Wall
                                                             423 W. First Ave., #250
     MOTION TO AMEND RELEASE CONDITIONS                       Spokane, WA 99201
                                                                 (509) 747-5646
